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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

    UNITED STATES OF AMERICA

             v.                              CASE NO. 8:17-cr-445-T-24CPT

    EDUARDO DE JESUS CHACIN VILLARROEL


                  UNITED STATES’S SENTENCING MEMORANDUM

             The United States of America submits this memorandum in opposition

    to defendant Eduardo De Jesus Chacin Villarroel’s objection to the U.S.

    Sentencing Guidelines calculation in his Presentence Investigation Report

    (“PSR”), contending that he merits the minor role reduction under U.S.S.G. §

    3B1.2.

    I.       BACKGROUND

             A.     Procedural Background

             On September 19, 2017, the grand jury indicted the seven defendants in

    this case on the following two charges: (1) conspiracy to distribute and to

    possess with intent to distribute five kilograms or more of a mixture and

    substance containing a detectable amount of cocaine while on board a vessel

    subject to the jurisdiction of the United States, in violation of 46 U.S.C. §§

    70503(a) and 70506(a) and (b), and 21 U.S.C. § 960(b)(1)(B)(ii) (“Count

    One”); and (2) possession with intent to distribute five kilograms or more of a
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    mixture and substance containing a detectable amount of cocaine while on

    board a vessel subject to the jurisdiction of the United States, in violation of 46

    U.S.C. §§ 70503(a) and 70506(a); 18 U.S.C. § 2; and 21 U.S.C. §

    960(b)(1)(B)(ii) (“Count Two”). Doc. 51.

           Defendants Martin Miguel Barrios Leon (“Barrios Leon”), Eduardo de

    Jesus Chacin Villarroel (“Chacin Villarroel”), Oscar Herrera Venera (“Herrera

    Venera”), Mario Jose Acuna Garcia (“Acuna Garcia”), and Francisco Ariel

    Bolanos (“Ariel Bolanos”) pleaded guilty. Docs. 81, 111. Defendants

    Gustavo Enrique Llanos Miranda (“Llanos Miranda”) and Jair Mendoza

    Montoya (“Mendoza Montoya”) proceeded to trial. The jury convicted

    Llanos Miranda and Mendoza Montoya on both counts. Docs. 153, 154.

    The evidence at trial described in great detail the respective roles of the

    defendants as crewmembers on board the oil tanker FAT CROW and in the

    drug smuggling scheme. The following factual background is based upon the

    trial evidence in this case.

           B.     Factual Background

           In April 2017, two trip organizers in Colombia recruited defendants

    Ariel Bolanos, Llanos Miranda, Herrera Venera, and four other men to be part

    of the crew of an oil tanker named FAT CROW. The four other men

    included a captain, a first officer, a chief engineer, and an assistant

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    engineer. FAT CROW’s purpose was to smuggle cocaine. Later in April

    2017, these seven men traveled from Colombia to the Dominican Republic,

    where FAT CROW was anchored, to join FAT CROW’s crew.

          Separately, in the Dominican Republic, another trip organizer recruited

    defendants Chacin Villarroel and Acuna Garcia to be part of FAT CROW’s

    crew. These two defendants also joined FAT CROW’s crew in April 2017.

          While FAT CROW was anchored in the Dominican Republic, under

    the supervision of the chief engineer, defendants Chacin Villarroel and Herrera

    Venera constructed a hidden compartment in FAT CROW’s bow for the

    purpose of smuggling cocaine. FAT CROW’s entire crew knew about the

    hidden compartment and its purpose.

          In early June 2017, FAT CROW’s crew sailed the ship to a point

    approximately 20 miles off the coast of Venezuela, where the crew anchored

    the ship. The first officer decided to leave the crew in the Dominican

    Republic and did not travel on the ship to Venezuela. A few days after FAT

    CROW anchored off the coast of Venezuela, defendants Barrios Leon and

    Mendoza Montoya rode a small boat from the nearby Venezuelan port out to

    FAT CROW to join the crew. Barrios Leon replaced the previous captain,

    and Mendoza Montoya replaced the previous first officer.

          FAT CROW remained anchored off the coast of Venezuela from early

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    June 2017 until on or about August 21, 2017. During that time, a trip

    organizer visited the ship several times from shore to meet with the entire

    crew. During these meetings, the crew and the trip organizer negotiated the

    crew’s payment for smuggling the cocaine.

          FAT CROW’s crew consisted of two tiers of crewmembers: officers

    and lower-ranking crewmembers. Barrios Leon, Mendoza Montoya, and the

    chief engineer were the ship’s officers. The assistant engineer, Ariel Bolanos,

    Llanos Miranda, Herrera Venera, Chacin Villarroel, and Acuna Garcia were

    the lower-ranking crewmembers.

          As captain, Barrios Leon was in charge of the entire ship and its

    crew. He was to be paid approximately $80,000 to $90,000 for the drug trip.

    As first officer, Mendoza Montoya was second-in-charge of the ship and

    served as its navigator. He was to be paid approximately $60,000 to $70,000

    for the drug trip. The chief engineer was in charge of running the ship’s

    engines and supervising the crewmembers who worked in the engineering

    room. He was to be paid approximately $80,000 to $90,000 for the drug trip.

          The assistant engineer assisted the chief engineer and was to be paid

    approximately $60,000 to $70,000 for the drug trip. Ariel Bolanos served as

    the ship’s bosun and supervised operation of equipment on the ship’s

    deck. He was to be paid approximately $30,000 to $40,000 for the drug trip.

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    Llanos Miranda served as the ship’s helmsman, in charge of steering the

    ship. He was to be paid approximately $30,000 to $40,000 for the drug trip.

    Herrera Venera served as an oiler and welder on the ship, working on

    machinery in the engine room under the chief engineer’s supervision. He was

    to be paid approximately $30,000 to $40,000 for the drug trip. Chacin

    Villarroel served as an oiler on the ship, working on machinery in the engine

    room under the chief engineer’s supervision. He was to be paid

    approximately $30,000 to $40,000 for the drug trip. Acuna Garcia served as

    the ship’s cook. He was to be paid approximately $30,000 to $40,000 for the

    drug trip.

           On or about August 21, 2017, a small boat brought 1,504 kilograms of

    cocaine to FAT CROW. FAT CROW’s entire crew participated in loading

    the cocaine onto the ship. Some of the crewmembers secured the cocaine in

    the hidden compartment while others cleaned the ship to remove any trace of

    cocaine to prevent detection by law enforcement. FAT CROW set sail that

    same day, intending to deliver the cocaine to a point off the coast of Honduras

    before continuing to Guatemala to deliver approximately 260,000 gallons of

    black market Venezuelan diesel fuel that the crew had onloaded while

    anchored off the coast of Venezuela.

           On August 24, 2017, while on routine patrol, the U.S. Coast Guard

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    (“USCG”) Cutter TAHOMA (“TAHOMA”) detected FAT CROW in

    international waters approximately 200 nautical miles southeast of Jamaica.

    FAT CROW did not respond to initial radio calls from

    TAHOMA. Ultimately, FAT CROW’s captain, Barrios Leon, responded that

    he did not speak English. In response, TAHOMA used a translator to

    conduct the right of approach questioning. Barrios Leon claimed Togolese

    registry for the freighter and reported nine persons on board. He also claimed

    that FAT CROW was transporting fuel from Venezuela to Guatemala.

          Based on a variety of observations about FAT CROW, the USCG

    suspected that FAT CROW was actually engaged in smuggling contraband.

    Accordingly, TAHOMA requested authority to conduct a full law

    enforcement boarding of FAT CROW. The U.S. government contacted the

    Togolese government to confirm or deny FAT CROW’s claim of registry, and

    if confirmed, to grant permission to stop, board, and search the

    freighter. Initially, the Togolese government could not confirm FAT

    CROW’s registry but stated that, regardless, it had no objection to the United

    States stopping, boarding, and searching FAT CROW. Subsequently, the

    Togolese government confirmed FAT CROW’s Togolese

    registration. Following the USCG interdiction of FAT CROW, the Togolese

    government consented to the United States enforcing U.S. law with respect to

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    FAT CROW and its crew.

          TAHOMA dispatched a boarding team on a small boat to FAT

    CROW. The boarding team found the following people aboard FAT

    CROW: Barrios Leon, Llanos Miranda, Herrera Venera, Ariel Bolanos,

    Acuna Garcia, Mendoza Montoya, Chacin Villarroel, a chief engineer, and an

    assistant engineer.

          During the second full day of the boarding, the USCG boarding team

    found fresh welds around an unaccounted for void inside FAT CROW’s

    forward ballast tank. The boarding team then found a manhole cover

    providing access to the void. Inside, the boarding team found 75 bales

    containing the 1,504 kilograms of cocaine. The wholesale value of this

    amount of cocaine exceeds $45 million. The boarding team also found

    approximately 260,000 gallons of black market Venezuelan diesel fuel

    onboard FAT CROW, which the crew used in part to attempt to provide a

    legitimate cover for FAT CROW’s trip.

    II.   CHACIN VILLARROEL DOES NOT MERIT THE MINOR ROLE
          REDUCTION

          A.     Legal Framework

          The proponent of a downward adjustment bears the burden of

    establishing that he merits the adjustment by a preponderance of the evidence.

    United States v. De Varon, 175 F.3d 930, 934 (11th Cir. 1999). As set forth
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    below, the legal framework concerning mitigating role is found in (1) the U.S.

    Sentencing Guidelines; (2) United States v. De Varon and its progeny; and (3)

    case law applying the mitigating role analysis in maritime interdiction cases

    similar to the instant case.

                  1.     U.S. Sentencing Guidelines

           Under the U.S. Sentencing Guidelines, a defendant may receive an

    offense level reduction for having a limited role in the offense. U.S.S.G. §

    3B1.2. The defendant may receive a four-level reduction if he was a minimal

    participant, a two-level reduction if he was a minor participant, or a three-level

    reduction if he was somewhere in between. Id. The adjustment applies to

    defendants that are “substantially less culpable than the average participant in

    the criminal activity.” Id. § 3B1.2 cmt. n.3(A). In particular, the two-level

    “minor role” reduction applies to a defendant “who is less culpable than most

    other participants in the criminal activity.” Id. § 3B1.2 cmt. n.5. The

    commentary to U.S.S.G. § 3B1.2 explains that determining whether a

    defendant merits a mitigating role reduction is a heavily fact-dependent,

    totality of the circumstances analysis. Id. § 3B1.2 cmt. n.3(C). The

    commentary provides the following non-exhaustive list of factors for

    consideration:

           (i)    the degree to which the defendant understood the scope
                  and structure of the criminal activity;
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          (ii)    the degree to which the defendant participated in planning
                  or organizing the criminal activity;
          (iii)   the degree to which the defendant exercised decision-
                  making authority or influenced the exercise of decision-
                  making authority;
          (iv)    the nature and extent of the defendant’s participation in
                  the commission of the criminal activity, including the acts
                  the defendant performed and the responsibility and
                  discretion the defendant had in performing those acts;
          (v)     the degree to which the defendant stood to benefit from
                  the criminal activity.

    Id.

                  2.    De Varon Framework

          In the Eleventh Circuit, determining whether a defendant merits a

    mitigating role reduction involves a two-pronged analysis. First, the court

    must evaluate the defendant’s role in the relevant conduct for which he is

    being held accountable at sentencing. De Varon, 175 F.3d at 934, 940.

    Second, where the record evidence is sufficient, the district court may also

    compare the defendant’s conduct to that of other participants in the criminal

    scheme attributed to the defendant. Id. at 934, 944.

          Concerning the first prong in the De Varon analysis, the Eleventh Circuit

    has explained that a mitigating role reduction for a defendant convicted of

    conspiracy “only makes sense analytically if the defendant can establish that

    her role was minor as compared to the relevant conduct attributed to her.” Id.

    at 941 (emphasis in original). “Otherwise, a defendant could argue that her

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     relevant conduct was narrow for the purpose of calculating base offense level,

     but was broad for determining her role in the offense.” Id. “A defendant

     cannot have it both ways.” Id. Accordingly, “where the relevant conduct

     attributed to a defendant is identical to her actual conduct, she cannot prove

     that she is entitled to a minor role adjustment simply by pointing to some

     broader criminal scheme in which she was a minor participant but for which

     she was not held accountable.” Id.

            Concerning the second prong of the De Varon analysis, the Eleventh

     Circuit has emphasized that “a defendant is not automatically entitled to a

     minor role adjustment merely because she was somewhat less culpable than

     the other discernable participants.” Id. at 944. Instead, “the district court

     must determine that the defendant was less culpable than most other participants

     in her relevant conduct.” Id. (emphasis in original). In De Varon, the

     Eleventh Circuit described a helpful example in which three individuals enter

     a bank intending to rob it. Id. (citing United States v. Daughtrey, 874 F.2d 213,

     216 (4th Cir. 1989)). In the example, one defendant stands guard at the bank

     entrance, another sprays paint on the security camera, and the third gathers

     money from the teller’s cage. Id. The court explained that even if one of the

     participants deserved an aggravating role enhancement, the other participants

     would not be entitled to a mitigating role reduction. Id.; see also id. (citing

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     United States v. Rotolo, 950 F.2d 70, 71 (1st Cir. 1991)) (recognizing that “one

     who, say, points a gun at a bank teller and seizes the money is not entitled to a

     downward adjustment simply because someone else in the gang supervised his

     activities”).

            To assist in the mitigating role analysis, the Eleventh Circuit has

     provided a non-exhaustive list of factors to consider in the drug courier

     context, including the amount of drugs; the fair market value of the drugs; the

     amount of money the courier was to be paid; whether the courier had any

     equity interest in the drugs; the courier’s role in planning the criminal scheme;

     and the courier’s role in the distribution. De Varon, 175 F.3d at 945.

                     3.   Application in Maritime Interdiction Cases

            The Eleventh Circuit has recently applied the De Varon analysis to a

     maritime interdiction conspiracy case comparable to the instant case, and

     upheld the district court’s decision denying a mitigating role reduction for a

     crewmember. In United States v. Herrera-Villarreal, 665 F. App’x 762 (11th Cir.

     2016), the defendant faced the same two charges on which the grand jury here

     indicted Chacin Villarroel. The district court in the Herrera-Villarreal case

     sentenced the defendant “based on the offense conduct of transporting 1,227

     kilograms of cocaine as a crewmember aboard a vessel.” Id. at 764. The

     Eleventh Circuit explained that “[b]ecause [the defendant’s] offense level was

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     calculated using only the amount of drugs found on the boat on which he

     served, he did not have a minor role compared to his relevant conduct.” Id.;

     see also United States v. Palma-Meza, 685 F. App’x 806, 810 n.2 (11th Cir. 2017)

     (“Because [the mariner’s] guideline range was calculated using only the

     amount of drugs found on the boat on which he served as a crewmember, he

     did not have a minor role compared to the relevant conduct for which he was

     held accountable.”). The Eleventh Circuit emphasized that the defendant’s

     “actual conduct was identical to the relevant conduct attributable to him.”

     Herrera-Villarreal, 665 F. App’x at 764. The court also pointed out that the

     defendant presented no evidence demonstrating that he was less culpable than

     the other crewmembers on the vessel. Id. at 764-65.

           B.     Analysis

           Chacin Villarroel fails to satisfy his burden to demonstrate that he is

     entitled to a minor role reduction on either of the two prongs of the De Varon

     analysis.

                  1.     First Prong of De Varon Analysis

           The first prong in the De Varon analysis involves evaluating Chacin

     Villarroel’s role in the conduct for which he is being held accountable. De

     Varon, 175 F.3d at 934, 940. The object of the conspiracy to which Chacin

     Villarroel pleaded guilty, and for which the PSR holds him accountable, was

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     to transport 1,504 kilograms of cocaine across international waters from

     Venezuela to Honduras.

            Several of the De Varon and U.S.S.G. § 3B1.2 factors weigh against

     finding that Chacin Villarroel had a minor role in this conspiracy. First,

     Chacin Villarroel helped smuggle an enormous amount of drugs: 1,504

     kilograms of cocaine. Indeed, at trial, an experienced DEA agent

     conservatively estimated that the wholesale value of this amount of cocaine

     exceeds $45 million. The amount of drugs and their worth show that the trip

     organizers placed a high level of trust in Chacin Villarroel and his co-

     defendants. The Eleventh Circuit has recognized that “the amount of drugs

     in a courier’s possession—whether very large or very small—may be the best

     indication of the magnitude of the courier’s participation in the criminal

     enterprise.”1 Id. at. 943. The Eleventh Circuit has routinely upheld denial of

     the minor role reduction where the amount of drugs was far less than 1,504

     kilograms. See, e.g., United States v. Casas, 632 F. App’x 1003, 1005 (11th Cir.

     2015) (denying minor role reduction where defendant transported three

     kilograms of methamphetamine); De Varon, 175 F.3d at 946 (denying minor

     role reduction where defendant transported 512.4 grams of heroin).

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              The Eleventh Circuit recently reaffirmed that the amount of drugs the courier
     possessed is a significant consideration in the minor role analysis, but explained that it
     cannot be the only factor the court considers. See United States v. Cruickshank, 837 F.3d 1182,
     1195 (11th Cir. 2016).
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           Additionally, the conspiracy constituted an elaborate international drug

     trafficking scheme that involved smuggling over one and a half tons of cocaine

     across international waters from Venezuela to Honduras, requiring

     intervention by the U.S. Coast Guard. Chacin Villarroel’s conspiracy was far

     larger and more complex than others in which the Eleventh Circuit has upheld

     denial of the minor role reduction for drug traffickers. See, e.g., Casas, 632 F.

     App’x at 1005 (denying minor role reduction for defendant who smuggled

     three kilograms of methamphetamine in a car from Texas to Florida).

     Finally, Chacin Villarroel was centrally involved in the core purpose of the

     conspiracy. He helped build the compartment in which the defendants hid

     the cocaine. He participated in meetings to negotiate his compensation for

     the smuggling trip. And he personally helped load the cocaine onto the ship.

     Based on his participation, Chacin Villarroel knew the scope of the

     conspiracy.

           Furthermore, because Chacin Villarroel’s actual conduct was

     coextensive with his relevant conduct, he cannot have had a minor role

     compared to his relevant conduct. Although Chacin Villarroel’s conspiracy

     may be part of a larger criminal enterprise, he is not being held accountable for

     the actions of any such larger enterprise. Thus, he cannot use some larger

     criminal enterprise to define his role. De Varon, 175 F.3d at 941, 947

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     (explaining that the court should evaluate the defendant’s role based on the

     conspiracy for which he is held accountable, and rejecting the contention that

     the court should evaluate the defendant’s role based on a “far-flung narcotics

     enterprise that may stretch from the grower, to the manufacturer in a foreign

     land, through the distribution mechanism, to the final street-level distributor”).

     The criminal conspiracy of which Chacin Villarroel was convicted consisted of

     seven men transporting 1,504 kilograms of cocaine across international

     waters. Chacin Villarroel was fully aware of that conspiracy and participated

     in every key part of it, including building the hidden compartment, negotiating

     his compensation, and loading the cocaine onto the ship. Thus, he was

     intimately involved in the central object of the conspiracy of which he is being

     held accountable.

           Finally, as in the Herrera-Villareal case, here Chacin Villarroel’s offense

     level is calculated using only the amount of drugs on the vessel. Doc. 61 at ¶¶

     15-25. Thus, his “actual conduct was identical to the relevant conduct

     attributable to him.” Herrera-Villarreal, 665 F. Appx at 764; see also Palma-

     Meza, 685 F. App’x at 810 n.2 (“Because [the mariner’s] guideline range was

     calculated using only the amount of drugs found on the boat on which he

     served as a crewmember, he did not have a minor role compared to the

     relevant conduct for which he was held accountable.”). Accordingly, because

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     Chacin Villarroel did not have a minor role compared to his relevant conduct,

     he cannot carry his burden on the first prong of the De Varon analysis.

                  2.     Second Prong of the De Varon Analysis

           Even if Chacin Villarroel could satisfy his burden on the first prong of

     the De Varon analysis—which he cannot—he fails to do so on the second

     prong. The second prong of the De Varon analysis involves comparing

     Chacin Villarroel’s role in the conspiracy to that of other participants in the

     criminal scheme attributed to him. De Varon, 175 F.3d at 934, 944. The

     crux of the analysis is whether Chacin Villarroel is “substantially less culpable

     than the average participant” in the conspiracy. U.S.S.G. § 3B1.2 cmt.

     n.3(A). Put another way, the issue is whether he is “less culpable than most

     other participants” in the conspiracy. De Varon, 175 F.3d at 944 (emphasis in

     original); U.S.S.G. § 3B1.2 cmt. n.5.

           As discussed above, the conspiracy for which Chacin Villarroel is being

     held accountable consisted of seven crewmembers on a ship transporting 1,504

     kilograms of cocaine across international waters. At trial, cooperating

     witnesses identified several other members of this conspiracy, including at

     least three trip organizers and several men who delivered the cocaine to the

     ship in the small boat. Chacin Villarroel argues that the trip organizers and

     FAT CROW’s officers are more culpable than he is. But just because these

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     people may merit an offense level enhancement for their roles does not mean

     that Chacin Villarroel merits a mitigating role reduction. See De Varon, 175

     F.3d at 944. Additionally, the mere fact that someone else hired Chacin

     Villarroel to smuggle the drugs, without more information about this person’s

     role, “does not compel the conclusion that [the organizer] was sufficiently

     more culpable” than Chacin Villarroel. Id. at. 946; see also id. at 944 (citing

     Rotolo, 950 F.2d at 71) (recognizing that a defendant is not entitled to a

     mitigating role reduction merely because someone else in the criminal

     enterprise supervised his activities). The key issue is whether Chacin

     Villarroel is “substantially less culpable than the average participant” the

     conspiracy. U.S.S.G. § 3B1.2 cmt. He is not.

           The ship’s officers, captain Barrios Leon and first officer Mendoza

     Montoya, had significantly more responsibility for running the ship than

     Chacin Villarroel; indeed, the U.S. Sentencing Guidelines provide an

     enhancement for their special skills. But their participation in the drug

     smuggling conspiracy is not that distinguishable from Chacin Villarroel’s.

     Barrios Leon and Mendoza Montoya managed and navigated the ship, and

     accordingly were to be paid more money than the rest of the crew. But the

     cooperating witnesses testified at trial that all of the crewmembers participated

     in meetings with the trip organizers to negotiate their compensation and that

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     all of the crewmembers participated in loading the cocaine onto the ship.

     That activity is the heart of this conspiracy, and all of FAT CROW’s

     crewmembers, from the captain down to the cook, participated. Chacin

     Villarroel negotiated his compensation and loaded the cocaine, just as all the

     other crewmembers did, in addition to building the hidden compartment.

     Accordingly, he is not “substantially less culpable than the average

     participant” in this conspiracy.

     III.   CONCLUSION

            For the reasons set forth above, the Court should deny defendant

     Eduardo de Jesus Chacin Villarroel’s objection seeking a mitigating role

     reduction.

                                              Respectfully submitted,

                                              MARIA CHAPA LOPEZ
                                              United States Attorney


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                             CERTIFICATE OF SERVICE

            I hereby certify that on February 28, 2018, I electronically filed the

     foregoing with the Clerk of the Court by using the CM/ECF system which

     will send a notice of electronic filing to the following:

                   Irina Hughes, Esquire



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